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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

GREGORY and KRISTI PICKETT,
Individually and As Next Friends of
SCOTT PICKETT,

Pldintijfs‘,

Civil Action No.
CITY OF PERRYTON, TEXAS;

SERGEANT HECTOR VILLARREAL;

PERRYTON CHIEF OF POLICE,
WILLIAM HILL

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Defendants.

RI I AL COMPLAINT
TO THE HONORABLE COUR'I`:

Plaintiffs, GREGORY and KRISTI PICKETT, Individually and As Next Friends of
SCOTT PICKETT, bring this action against the CITY OF PERRYTON, TEXAS, for
damages pursuant to 42 U.S.C. §1983 and §1988, the Fourth and Fourteenth Amendrnents to the
United States Constitution, and the Texas Tort Claims Act, Tex. Civ. Prac. & Rem. Coa'e
§1`01.021(2). Plaintiffs also bring this complaint against SERGEANT HECTOR
VILLARREAL (“VILLARREAL”) and Chief of Police WILLIAM HILL (“HILL’), police
officers of the CITY OF PERRYTON, TEXAS, (Collectively the “Officers”) in their individual
capacities pursuant to 42 U.S.C. §1983 and §1988 and the Fomth and Fourteenth Amendments

to the United States Constitution. Jurisdiction is based upon 28 U.S.C. §§1331 and 1343, and

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under 28 U.S.C. §1367(a).

On May 2, 2016, SERGEANT HECTOR VILLARREAL subjected SCOTT
PICKETT to unnecessary and excessive force by shooting SCOTT PICKETT multiple times,
violating his rights under the Fourth and Fourteenth Amendments to the United States
Constitution, and fluther, assaulted and battered SCOTT PICKETT, These violations were
committed as a result of policies and customs of the CITY OF PERRYTON,

Plaintiffs herein comply with the pleading requirements of FRCP Rule S(a) and the
requirements of Ashcroft v. Iqbal, 556 U.S. 129 S.Ct. 1937, 1949 (2009) that “A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.”

I. PARTIES

1.1 Plaintiffs were at all times relevant to this cause of action residents of Perryton, Ochiltree

County, Texas.

1.2 Defendant, the CITY OF PERRYTON, TEXAS is a municipal corporation located
within the boundaries of the Amarillo Division of the Northern Distn'ct of Texas. This Defendant
will beextended the opportunity to accept service of process pursuant to FRCP 4(d). If this
Defendant fails or refuses to accept service as requested, then Plaintiffs will request service of

process pursuant to FRCP 4(j) upon the City Secretary.

1.3 Defendant SERGEANT VILLARREAL and CHIEF HILL Were at all times relevant
to this cause of action duly appointed and acting officers of the police department of the CITY

OF PERRYTON, within the course and scope of their employment with the City. These

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Defendants Will be extended the opportunity to accept service of process pursuant to FRCP 4(d).
If these Defendants fail or refuse to accept service as requested, then Plaintiffs will request

service of process pursuant to FRCP 4(e).

II. JURISDICTION AND VENUE
2.1 42 U.S.C. §1983 and 42 U.S.C. §1988 provide jurisdiction over Plaintiffs’ constitutional

claims for redress, which are conferred on this Court by 28 U.S.C. §1343(a)(3).

2.2 Federal question jurisdiction is conferred on this Court by 28 U.S.C. §1331, because this

action arises under the Constitution and laws of the United States.

2.3 T his Court also has pendant jurisdiction over all other claims asserted under the laws of

the State of Texas, pursuant to 28 U.S.C. §1367(a).

2.4 Venue is proper in the Northem District of Texas, Amarillo Division, as this is the district
where the claim arose in accordance to 28 U.S.C. §1391(b).

lII. DUTY AND LAW APPLICABLE

3.1 Plaintiff SCOTT PICKETT was subjected to excessive force in violation of his rights

guaranteed to him by the Fourth and Fourteenth Arnendments of the United States Constitution.

3.2 Plaintiff commences this action pursuant to 42 U.S.C. §1983, which provides in relevant
part for redress for every person within the jurisdiction of the United States for the deprivation,
under color of state law, of any rights, privileges, or immunities secured by the Constitution and

laws of the United States.

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3.3 VILLARREAL and HILL Were acting under the color of law and are liable under 42

U.s.C. §1983.

3.4 The CITY OF PERRYTON is liable to Plaintiff under §101.021(2) of the Texas Civil
Practice and Remedies Code (TCPRC) because of the negligence of VILLARREAL and HILL

and of the City.

IV. GENEBAL ALLEGATIO§S REGARDING THE INQIDENT

4.1 On May 2, 2016, SCOTT PICKETT was at his horne in Perryton, Texas. He was
diagnosed with cerebral palsy and has a diminished mental capacity. He is currently 22 years
old. SCOTT PICKETT’S parents are GREGORY and KRISTI PICKETT. SCOTT
PICKETT has the mental capacity of an 8 - 10 year old child and has lived with his parents all
of his life. On the morning of May 2, 2016, SCOTT was thirsty and decided to walk to
Pak-A-Sak to purchase a drink. SCOTT took his pellet gun With him on his walk because he
was aware of a barking dog near the Pak-A-Sak that frightened him, so he wanted something to
protect him from the dog in case he was attacked. SCOTT went to Pak-A-Sak and purchased a
soft drink before he started to return home through the neighborhood streets. While SCOTT was

walking home, he was confronted by a police vehicle.

4.2 Prior to the shooting and arrival of the police officers where SCOTT was located, the
dispatch received a 911 call from a woman advising that a male subject wearing camouflage and
body armor was walking towards a school and waving a pistol. The allegations made by this

unknown person were totally untrue. He was walking away from the direction of the school and

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the pellet gun was in the side pocket of his pants. The Perryton Police Department Dispatch
made a transmission to on duty officers of this information in the area of 15th Street and
Fordham in Perryton, Texas. OFFICER SCOTT RYAN STEWARD was on duty as a Patrol
Officer on May 2, 2016, He responded to the transmission from the PERRYTON POLICE
DEPARTMENT dispatch OFFICER STEWARD observed SCOTT PICKETT near 9th
Street and Fordham Street. He parked his vehicle, drew his handgun and began giving verbal

commands to SCOTT to stay where he was and to get on the ground.

4.3 SCOTT PICKETT stated that the police officer ordered him to get on the ground and
while he was attempting to get on the ground, he “did the right thing,” pulled off his cap and
attempted to pull the pellet gun from a pocket on the lower side of his pants and throw it on the

ground.

4.4 While these events were occuring, VILLARREAL was driving his police vehicle in the
CITY OF PERRYTON with a passenger, OFFICER JOEY ODOM. OFFICER ODOM
reported for his first day of duty at Perryton Police Department and was riding along with
VILLARREAL. OFFICER ODOM did not have any patches or insignia identifying himself as

a police officer because those items had not been issued to him at that time.

4.5 While SCOTT PICKETT was complying with OFFICER STEWARD’S commands,
i.e. removing his cap, throwing the pellet gun on the ground and attempting to lay on the ground,
VILLARREAL pulled up on the scene, exited his vehicle and fired his weapon seven times,
striking SCOTT PICKETT in the leg and shoulder. OFFICER ODOM described that as they

pulled up on the scene and exited the vehicle, PICKETT “appeared to be conii.lsed. . .”

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4.6 The body cam video from VILLARREAL shows VILLARREAL: (1) Park the car; (2)
Get out of the car; (3) Tell a lady to go into her house; (4) Draw his weapon; and (5) Fire 7 shots
in the direction of SCOTT PICKETT,

4.7 Additionally, the dash camera from the vehicle of OFFICER STEWARD that is directed
from the opposite angle of where VlLLARREAL was located, shows: (1) SCOTT PICKETT
holding his hands up; (2) SCOTT removing his cap; (3) SCOTT bending down and throwing
the pellet gun away from him; (4) shots being fired; and (5) SCOTT falling backwards into the
grass off the street.

4.8 ln light of the compliance being demonstrated by SCOTT PICKETT to the commands
given by OFFICER STEWARD, VILLARREAL’S conduct was at all relevant times
unreasonably physically aggressive with SCOTT PICKETT, including drawing his weapon and
firing seven times within seconds of arriving on the scene.

4.9 After VlLLARREAL shot SCOTT PICKETT, the PERRYTON POLICE
OFFICERS put his hands behind his back, handcuffed him, asked him “Why was he dressed

like that?” and transported him to the local hospital.

V. FURTHER ALLEGATIONS: PRIOR INngENTS INVOLVING CON§TITUTI§ !NAL

VIOLATIONS BY SERGEANT VILLARREAL AND HISTQRY QF
INSUBORDINATION OF SERGEANT VILLARREAL

5.1 THE CITY OF PERRYTON and the PERRYTON POLICE DEPARTMENT were
on notice of prior routine excessive force being committed by VILLARREAL due to improper
training as Well as insubordination while employed as an officer with the PERRYTON
POLICE DEPARTMENT and the LAREDO POLICE DEPARTMENT through the

following specific prior acts of VILLARREAL. A detailed list of the prior incidents of use of

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excessive force including physical altercations, drawing his weapon on an unarmed citizen,
making terroristic threats and other alcohol related incidents with the LAREDO POLICE
DEPARTMENT are attached to the complaint as Exhibit “A” and incorporated herein for all
purposes

5.2 Additionally the Plaintiffs have attached the affidavits of Gary Owens (Exhibit “B”) and
Joseph Brent Judice (Exhibit “C”) which demonstrate use of excessive force by SERGEANT
VILLARREAL in the City of Perryton, prior to the shooting incident involving SCOTT
PICKETT.

5.3 Prior to the shooting incident in this case, the CITY OF PERRYTON and CHIEF
HILL of the PERRYTON POLICE DEPARTMENT were on notice of the fact that (as a town
in the State of Texas) the use of physical force and/or deadly force by its officers is an inevitable
occurrence. As such, the CITY OF PERRYTON and HILL had a duty to ensure that its
officers were adequately trained and supervised in the use of physical and/or deadly force. Past
incidents involving VILLARREAL’S use of excessive force including physical altercations,
drawing his weapon on unarmed citizens and threatening individuals under color of state law,
both at the City of Laredo and while employed with the City of Perryton, placed the CITY OF
PERRYTON and HILL on notice that VILLARREAL had serious mental issues/problems and
needed more training, supervision and/or discipline in cases where physical and deadly force
were necessary. However, the DEFENDANTS refused to provide such additional training,
supervision and discipline prior to the incident made the basis of this lawsuit, as more fully
alleged below. Rather, the DEFENDANTS turned a blind eye to the conduct of officers like

VILLARREAL Which ultimately resulted in the incident that forms the basis of this lawsuit.

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5.4 DEFENDANTS have failed to provide adequate live shooting training exercises to train
officers like VILLARREAL on the use of force in emotionally charged and intense, real life
scenarios. As a result, officers like VILLARREAL are allowed to draw and routinely fire their
weapons and their tasers inappropriater at innocent individuals like SCOTT PICKETT, even
when SCOTT PICKETT demonstrates compliance and poses no threat to society or his
surroundings

5.5 Officers with the PERRYTON POLICE DEPARTMENT, like VILLARREAL, had
not been given the necessary training to know when circumstances arise that cause them to
reasonably believe that their weapon needs to be drawn and fired upon a subject and/or the use of
physical force employed to avoid serious injury to themselves or other innocent citizens of the
CITY OF PERRYTON, The lack of adequate training is apparent through a review of the body
cam and dash cam videos in this case which demonstrate VILLARREAL lacks the necessary
training to determine when a situation is under control and/or when a suspect is in compliance
and the use of excessive force, i.e. drawing and firing a gun, is unnecessary to diffuse the
situation. Without this necessary training, officers with the PERRYTON POLICE
DEPARTMENT, including VILLARREAL are routinely allowed to use excessive force for
routine traffic stops as these officers are unable to assess whether the situation is life threatening
or not.

5.6 The preceding incidents With the CITY OF LAREDO POLICE DEPARTMENT as
well as the PERRYTON POLICE DEPARTMENT placed the DEFENDANTS on notice of
the violent and unstable nature of VILLARREAL as well as the PERRYTON POLICE

DEPARTMENT’S need for additional training and supervision to deal With the inappropriate

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and unconstitutional application of physical and/or deadly force by PERRYTON POLICE
DEPARTMENT, including VILLARREAL.

vl. MINDIFHRENQE
6.1 Despite the obvious prior knowledge of VILLARREAL’s propensities with careless and
violent activity while engaged as a police officer in the State of Texas, the DEFENDANT hired
VILLARREAL, equipped him with a weapon and allowed him to serve as an officer with the
PERRYTON POLICE DEPARTMENT,
6.2 Additionally, the Defendants allowed VILLARREAL to train other police officers, like
OFFICER JOEY ODOM. The fact that no discipline, training or supervision was required of
VILLARREAL, despite his prior unlawful documented conduct with the CITY OF LAREDO
POLICE DEPARTMENT and the incidents that have occurred while employed as an Officer
with the PERRYTON POLICE DEPARTMENT, is clear evidence that the DEFENDANTS
and its policymakers ratified repeated acts of obvious negligent behavior and civil rights
violations involving the use of` excessive force,
6.3 It is clear that the HlLL and the CITY OF PERRYTON’S practice of hiring police
officers with records of excessive force, excessive alcohol usage and erratic behavior, although
not authorized by written law or express municipal policy, was so prevalent as to constitute a
custom, practice or policy of the DEFENDANTS with the force of law.
6.4 lt is clear that the DEFENDANTS had sufficient notice that the deficiencies in the
training, discipline and prior actions of VILLARREAL would likely lead to the violation of an
individual’s 4th Amendrnent civil rights that VILLARREAL was likely to encounter The

DEFENDANTS’ collective decision to hire officers like VILLARREAL and turn them loose

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on the CITY OF PERRYTON with a badge and a weapon led to the incident which forms the
basis of this lawsuit
6.5 The violation of SCOTT PICKETT’s civil rights was a highly predictable consequence
of the Defendants’ deliberate and conscious decision to hire officers like VILLARREAL and
fail to train officers like VILLARREAL on the use of force, critical decision making, situation
awareness, and threat assessment
VII. M

42 U.S. . 1983 LAIM A AINST VILLARREAL
7.1 Plaintiffs hereby incorporate by reference all of the foregoing and further allege as
follows: VILLARREAL’S conduct violated 42 U.S.C. §1983 because while acting under color
of state law (as an on duty police officer employed by the CITY OF PERRYTON),
VILLARREAL deprived PICKETT of his clearly-established rights under the Constitution of
the United States which violation(s) was/were a cause of the injuries of PICKETT.
VlLLARREAL acted with deliberate indifference to PICKETT’S clearly-established
constitutional rights,
7.2 VILLARREAL violated the following clearly-established constitutional rights of
PICKETT as follows:

a. VILLARREAL used excessive force against PICKETT in violation of his
clearly established rights under the 4th Amendment to the United States Constitution to be secure
in his person and/or to be free from an unreasonable seizure of his person and excessive force,
Each time VILLARREAL used force against PICKETT beginning and ending with gunfire,

VILLARREAL seized PICKETT’S person by his action. Each seizure was unlawful because

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the force used by VILLARREAL caused PICKETT to suffer severe personal injury from the
gunshot wounds as well as mental anguish associated with those wounds and being shot by a
police officer. The use of force was clearly excessive to the need and was objectively
unreasonable considering all of the circumstances More specifically, PICKETT was complying
with the commands of OFFICER STEWARD and demonstrated no aggressive behavior
towards the officers on the scene that would justify shooting him multiple times

7.3 Objectively unreasonable under the circumstances the conduct of the VILLARREAL
constitutes conscious deliberate indifference to PICKETT’S clearly established constitutional
rights, proximately causing the injuries of PICKETT. VILLARREAL’S conscious and
deliberate decisions (which occurred after time for deliberation and planning) to use the highest
level of force available, constituted gross negligence and/or was intentional and the direct and
only cause of PICKETT’S injuries

7.4 VILLARREAL’S predetermined decision to shoot PICKETT, and to employ
objectively unreasonable and grossly excessive force against him was the proximate, direct and
only cause of his injtnies. VlLLARREAL resorted to deadly force when it was objectively
unreasonable to do so in light of the circumstances of the incident. There was never an imminent
threat of harm or bodily injury to VILLARREAL or any third-person despite their allegations to
the contrary.

7.5 VILLARREAL’S conduct violated clearly established constitutional rights of
PICKETT which any reasonable officer would have known. A reasonable officer would have
believed VILLARREAL’S conduct to be unlawful under the circumstances

7.6 The fact that PICKETT posed no imminent threat to VILLARREAL or other persons

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conclusively establishes no reasonably objective basis existed for VILLARREAL to shoot his
weapon at PICKETT and/or he had no legal authority to do so. Such conduct was a proximate
cause and the only cause of PICKETT’S injuries

7.7 PICKETT did not pose an imminent danger to VILLARREAL, himself or others
Theref`ore, VILLARREAL’s wrongful shooting of PICKETT cannot be justified by an alleged
need to prevent injury to PICKETT or others, including VILLARREAL,

7.8 The facts alleged constitute violations of 42 U.S.C. §1983, for which VILLARREAL is

not entitled to qualified immunity.

VIII. MNLZ
42 U.S.C. §12§3: MQNELL CLAIM AQAINST THE CITY OF PERRYTON

8.1 PLAINTIFFS incorporate by reference all of the foregoing and further allege as follows:
8.2 Further, PLAINTIFFS allege that Defendant CITY OF PERRYTON had established
express and/or implied policies which were constitutional violations and proximately caused
PICKETT’S injuries These policies were as follows:

a. Negligently failing to adequately train and/or supervise officers who confront
citizens under intense circumstances;

b. Negligently failing to discipline police officers involved in conduct amounting to
clearly excessive use of deadly force;

c. Negligently implementing, ratifying and/or otherwise approving or encouraging
systematic use of excessive deadly force in violation of the 4th Amendment of the U.S.
Constitution;

d. Negligently failing to adequately offer training and/or supervising police officers

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in proper use of force techniques when confronting humans in real life circumstances;

e. Negligently hiring VILLARREAL by failing to investigate him prior to
employment and specifically conducting pre-employment screening of VILLARREAL, who
had a known history of violence, criminal behavior, use of excessive force and/or other factors
making him unfit to be employed as a Weapon carrying police officer at the PERRYTON
POLICE DEPARTMENT; and

f. Negligently ignoring numerous past constitutional violations of rights by
VILLARREAL at the LAREDO POLICE DEPARTMENT and PERRYTON POLICE
DEPARTMENT by assaulting citizens and/or drawing his gun/taser when expressly prohibited
and/or in violation of the 4th Amendment of the U.S. Constitution.

8.3 The express and/or de facto policies (as established by custom, pattern, and/or practice)
adopted by the policymakers of the CITY OF PERRYTON and the PERRYTON POLICE
DEPARTMENT with actual or constructive knowledge, were the “moving force” behind the
violations of SCOTT PICKETT’S constitutional )rights and his resulting injuries The
DEFENDANTS acted with deliberate indifference to the constitutional rights of SCOTT
PICKETT by purposely ignoring repeated violations of constitutional rights by officers of the
PERRYTON POLICE DEPARTMENT including VILLARREAL. Further, and in the
alternative, such policies were promulgated with deliberate indifference to the known or obvious
consequences that constitutional violations would probably result Without discipline and/or
further training.

8.4 The policymakers of the PERRYTON POLICE DEPARTMENT with regard to the

policies made the basis of this action were one or more of the following: CHIEF WILLIAM

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HlLL.

v 8.5 This policymaker of the PERRYTON POLICE DEPARTMENT had actual or
constructive knowledge of the policies and/or customs of the PERRYTON POLICE
DEPARTMENT previously alleged, and acted with deliberate indifference to the constitutional
rights of PLAINTIFFS and others similarly situated by ignoring repeated violations of
constitutional rights and internal policies at the PERRYTON POLICE DEPARTMENT.

8.6 These policies and/or customs of continued lack of training, discipline or supervision of
Perryton Police Departrnent officers in the past were the “moving force” behind the deprivation
of SCOTT PICKETT’S constitutional rights and his injuries Defendants violated SCOTT
PICKETT’S Fourth Amendment rights by allowing a custom of excessive deadly force when
such force was unwarranted

8.7 VILLARREAL was free to commit excessive deadly force knowing that the
PERRYTON POLICE DEPARTMENT would not sanction any excessive force he committed
because he was hired by the PERRYroN PoLIcE DEPARTMENT despite s history of
violence and criminal behavior at the LAREDO POLICE DEPARTMENT. Thus, when
VILLARREAL showed up to the scene of the incident, unholstered his weapon and fired seven
times on a disabled man, he was comfortable knowing that his job was not at risk and that no
sanctions would folloW.

8.8. Further, the PERRYTON POLICE DEPARTMENT has failed to appropriately train
and supervise its officers to deal with real life street interactions The lack of training of
PERRYTON POLICE DEPARTMENT in real life shooting scenarios has led to the

unnecessary shooting of innocent civilians, including PICKETT.

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8.9 The lack of training in real life encounters caused VILLARREAL to not have the ability
to understand that no factors existed to allow for the implementation of deadly force under the
circumstances involving PICKETT. As such, VILLARREAL acted like an untrained lay
person and not an experienced and trained police officer.

8.10 The inadequate training provided by the PERRYTON POLICE DEPARTMENT to
VILLARREAL caused him to shoot PICKETT under circumstances where PICKETT was in
compliance with OFFICER STEWARD’s commands and posed no threat to society.

8.11 The above described actions of VILLARREAL and the customs and policies of the
CITY OF PERRYTON and the PERRYTON POLICE DEPARTMENT by and through the
HlLL, violated PICKETT’S constitutional rights by resulting in an unreasonable seizure
culminating in severe personal injuries to PICKETT.

8.12 Pursuant to Monell v. Dept. of Social Services, 98 S.Ct. 2018. 56 L.Ed.Zd 611 (1978) the
express and/or de facto policies (as established by custom, pattern and/or practice) of the CITY
OF PERRYTON, as previously set forth, adopted by the policymakers of the CITY OF
PERRYTON, with actual or constructive knowledge, were the “moving force” behind the
violations of SCOTT PICKETT’S constitutional rights and his personal injuries The CITY
OF PERRYTON acted with deliberate indifference to the constitutional rights of SCOTT
PICKETT, thus rendering it liable for all Plaintiffs’ injuries and damages Further, and in the
alternative, such policies were promulgated with deliberate indifference to the known or obvious
consequences that constitutional violations would result,

8.13 The policymakers of the CITY OF PERRYTON had actual or constructive knowledge

of the policies and/or customs of the CITY OF PERRYTON previously alleged and acted with

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deliberate indifference to the constitutional rights of Plaintiffs and other similarly situated.

IX. ATTO EY' FEES

9.1 PLAINTIFFS have been required to retain the services of attorneys to represent them in
this complex and difficult proceeding and cause of action. The PLAINTIFFS have retained the
undersigned attorneys to represent them, and pursuant to 42 U.S.C. §1988(b) of the Federal Civil
Rights Act, they are entitled to recover their reasonable and necessary fees incurred for these
attomeys, and the reasonable and necessary expenses incurred in the pursuit of this claim at the
trial level, the Court of Appeals level if the case is appealed to that Court, and in the Supreme

Court of the United States, if necessary.
X. JURY DEMAND
10.1 PLAINTIFFS respectfully demand a trial by jury.

XI. PRAYER
ll.l PLAINTIFFS ask for judgment against DEFENDANTS and pray for:

a. Trial by jury on all issues triable to a jury;

b. Judgrnent against DEFENDANTS, jointly and severally, on behalf of the
PLAINTIFFS for actual damages pursuant to 42 U.S.C. §1983;

c. Statutory and reasonable attorney fees pursuant to 42 U.S.C. §1988(b) of the
Federal Civil Rights Act, pre-judgment interest, post-judgment interest, and all of their costs
herein expended; and

d. Any and all additional relief to which the PLAINTIFFS may appear to be

entitled.

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Respectfully Submitted,

/s/ William D. Hamker
WILLIAM D. HAMKER
State Bar No. 08847900

1800 S. Washington, Suite 110
Amarillo, Texas 79102

(806) 371-7878

(806) 379-8666 (Facsimile)

STOCKARD, JOHNSTON & BROWN, P.C.
J. Daren Brown, State Bar No. 24036271
dbrown@Siblawfirm.com

1800 S. Washington, Suite 307

Amarillo, Texas 79102

Tel: (806) 372-2202

Fax: (806) 379-7799

Attorneys for Plaintiffs

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William D. Hamker

Attorney and Counselor at Law
1800 s. washington serve soo
marina rem 79102
Bom'd Ca'tified in Telephone
.Pereorml injury 'D'ial L¢nu (806) 371-7878
By fha TMBB°¢INI Te]¢¢opju-
QFI¢§“IM¢MM (sos) smart
July 21 , 201 7
Laredo Police Deparnnent
ATIN: open Reeerds
4712 Maher Avenue

Laredo, Texas 78041

RE: Former Of'fioer Hector Diego Villalreal
DOB: 12-9-‘75

To Whom It May Concern:

Pursuant to the state open records law, Tex. Gov’t. Code Ann. 552,001 to 552.353, I write to
request access to and a copy of the above-referenced OHicer’s personnel, disciplinary and
employment file. Ifyour agency does not maintain any such records, please let me know who
does and include the proper custodian’s name and address

I agree to pay any reasonable copying and postage fees of not more than $25.00. I.f the cost
would be greater than this amount, please notify me. Please provide a receipt indicating the
charges for each document

As provided by the open records law, I will expect your response within ten (10) days (Twenty
(20) days if my request requires substantial programming or manipulation of data.) If you
believe this information is not public, f ask that you immediately notify me and then seek a
formal decision form the Texas Attorney General not later than ten (10) calendar days from your
receipt of this request, as required by the open records law. We are not requesting documents
which are protected by law (i.e. social security numbers, driver’s license numbers, ete.)
Ifyou choose to deny this request please provide a written explanation for the denial including a
` reference to the specific statutory exemption(s) upon which you rely. Also, please provide all
segregable portions of otherwise exempt material.

Thank you for your assistance fan
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rea Sincerely, f '%1'" _ ..
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Williarn D. Hamker
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TEXAS commission LAW ENFoaoEr/rai\rr

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LAREDo PoLtcE DEPT.

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LAREDo, Tx. 73041

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Regular Peace Ort'icer

Dear Administrator:

We have received an Employment Rep_ort for the licensee above, (Fonn Ll). Comrnlsslon records
have been updated'to referencecurrentemployment. `

Thls acknowledgement ls to be maintained in your agency personnel tile while licensee is employed
by your agency. 'Thls information must be maintained and available for inspection by Commission

personnel upon wquest.

D. C. Iim Dozier, I.D., Ph.D.
Execudve Director
Fbw¢: 512-936-7?& 630 U. S. wm 290 Bls¢, Sukem
Mn.'|'ms 1872

Bax:

512-935-?¥66

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TRIAL SCHEDULE

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You have plead N
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scheduled triai on the a
attorney to represent yo_tr in this matter, at your own
ur behalf present at this

You have the right to retain an
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ali witnesses on yo

`expense. lt is your responsibility to have

time. '

would like 'Z`O CI‘LANGE YOUR PLEA`EII`HER GUILTY GR N€JLO

trial date, you may do so by appearing in the Municipal

Court Ot`fice AT`LEAST TEN (10) BAYS PRIOR TO TRJ_A.L DATE. `
ce at (830) 773-1111 of ANY

ft is your responsibility to notify the Mnnicipal Court Ot`ti
CHANGES I'N YOUR ADDRESS AND TELEPHONE NUMBER as soon as possible

prior to your scheduled trial date.

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DEFENDANTS erNATURE: .l/ /_._v_`

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Pannyron P‘§o?LrCn DEPARTMENT

City Of Peirytoii A~iithority i`or Rolense of
Couiity Of Ochiltree 1 ` lnformation and Waiver

Kiiow all men by these presents:

I, nlzf-_iL¢=r" J). i/ //d/'/‘.€Q/

do hereby authorize a review of a'id full
disclosure of all reb ords concerning myself to any duly authorized agent _o`ftl_ie Perryton Police Deparhnent, whether the said

records are of a piiblic, private oi confidential natuie.

The intent of this authorization is to give my consent for full and complete disclosure of the records of educational institiitions,
financial or credit institutions including records of loans, medical and psychiatric treatment and/or consultation including
hospitals clinics, private practitionersl and the U.S. Votei'nn's Adininist`ration; employment and pre-employment iecoids,
including background reports, efficiency ratings, complaints or grievances tiled _by or against me; and the records and
recollections of attorneys at law, or other coiinsel, whether representing ineor another person in any case, either criminal oi civil
in which l presently have, or have had an interest, -

I understand that any information obtained by a personal history background investigation which is develop-d directly Or
indirectly in whol° Or in part, upon this release, authorization will_be oonsiclcred in determining by suitability for employment b_y

l
the Perryton Police Depai'tinent. l also certify that any persons(s) who may Furiiish such information concerning me shall not be
‘=”“ said mrsons(s) from any aiid`all liability

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held legally accountable for giving this information in any way; and l do hereby rel
which may be incurred as a result of furnishing such information

A photocopy of this release form will be valid as an original thereof, even though the said photocopy does not contain an original

writing of my signature

r)ff~é"¢ M,&?a/ae¢£ /z'- an 77
Date of Birth

Signature
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Address Social Security Niimber

 

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Phone

Subscribed and sworn to before me this iSJ`-b day of ijth 20 C>di

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POLICE DEPARTMENT

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Fireiigh_ters' and Police Ofiicers‘
C_Ivil Service Commission
City_of Laredo ~

-Pe'r_sonr`iei Departr'nent
11'10-Hous`ton Street

Laredo, Texas 78040

To the Honorabie Comrnission:

This' is to advise you that i caused to be delivered to Ofiicer Hector D. Viliarrea! the
original letter of suspension which contains the statement of reasons, informing him that he is
to be suspended for three _days a copy of which' is attached hereto on the 3’“ day of May,

52.¢.,`<,_

A`gustin Dovaiina.iii,
Chief of- Police

ACKNOWLEDGMENT OF RECE|PT BY COMM|SS|ON

Date: 515 " ?‘/?
4.’/§ 347

Time:

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Name:

 

Xc: Florensio P na, ll|, City Manager
Jain'ie Fiores, City Attorney'
Dan Migura. Direetor, Civii Service Commission
|ntema| Affairs
Personnei File of Officer Hector D. Villar.rea|

 

 

 

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CaS€ 2218-CV-OOO75-D

Gary on mesne
PoLrCa DEPARTMENT

4712 MAHER AVE. ' LAREDO, TEXAS 78041
TE|_ (955} 795-2829 ' FAX (955) 795-3120

    

Chiel' Agus`tin Duvallna, l|l

 

hansonth
was
To: Oi`ficer Hector D. Villarreal
From: Agustin Dovalina, ill
Police Chief
Date: April 27, 1999
Re: Three (3) Day Suspension without Pay or Benei'its

In accordance with the rules and regulations of the Fire Fighters‘ and Police Ofr”i:ers‘ Civil Service Commission of
the city of Larcclo, Chapter 143 of the Tean Local Govemment Code, and Section l of Anicle 23 of the current collective
bargaining agreement and the authority provided therein to the head of the.Police Departme t o Eecruate disciplinary
aetion, you are hereby suspended without pay or benefits for three calendar days effective ... . rif on the 3“‘_day of May,
1999, ending 23:00 hours of the 5“' day of May, 1999. The basis for this suspension is my conclusi ii that you violated the
following rules of the Fire Fighters’ and Police Ofr"icers' Civil Service Commission of the city of Laredo, Te>:as:

Rule 2. Grounds for Removal, Suspension or Demo:ion

(S) Conduct prejudicial to good order.

(12) Violation of a rule or special order of the Fire Depan.ntent or Police Department, as applicable
You also violated Larerlo Police Department Rules and Reguiat'ions:

SEC'I`[ON THREE l'NDIVIDUAL RESPONSIBILITIES
lO.l l ABIDE BY LAWS: Members of the De_nartment shall abide by:
B. The General Orders, Rules and Regulations, and Procedures-of the Larcdo Police
Departrnent and Civil Service Commission Rules.
10.41 DISPLAYING OR DISCHARGING FiREARMS:

B. Members shall not unnecessarily display their r'u°carms.

You also committed a violation of the Laredo Police Department’s Gene:al Orciers Manual:

SECTION 7.07 ENFORCEMENT OFF-DUTY

 

Document 1 Filed 04/18/18 Page 25 0f__63 Page___|,D__Z$ __ _ _

 

 

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Case 2:18-cv-OOO75-D Document 1 Filed 04/18/18 Page 26 of 63 Page|D 26

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POLLCY

It is the policy of the Laredo Police Departmenc to discourage lsw- enforcement activities by ofii-duty officers except
in situations involving Iife~threatening emergencies or significant property loss. Ofi`-duty enforcement places the officer in
__thc dangerous position of'having no back-up, with no means to sununonback-up, having to watch out for family members
which might be present, and/or having the violator or other pcrsonsfail tci-recognize the oil-duty officer as a police officer.

The acts_constituting such violations are as follows:

011 Februory 10, 1999, while oii`-duty, it is alleged that you followed Mr. lose Mminez and Mr. Carlos Barrera in
§your personal vehicle as they drove southbound on McPhersqn and confronted them at the Diamond Shamrock located at
'Hillslde and McPherson. Mr. Maxtinez and Mr. Barrera further allegc'that y.ou here overly aggressive towards them as you
oonii'onted them and pointed a weapon at Mr. Martinez without identifying yourself as a police oHicer. He states that you
asked him to emile as you pointed the weapon at him. Both persons filed a formal complaint against you and your actions
prompting a formal investigation by the police deparhnent’s` internal affairs unit.

The Disciplinary Review Board (DRB) met to review the matter. Aner deliberation the DRB concluded that you
did commit a violation of the aforementioned rules* policies and procedures AB.er investigating your conduct as set forth `
and complained ofabove; and, alter reviewing the recommendation made by the DRB, I have determined that your conduct
as described above is contrary to the efdcicnt»and proper mentioning ofth_e Lsredo Police Department and its law~
enforcement goals. I have also determined that your actions also constitute a violation of the rules and regulations of both
the Fire Fighters’ andl’olice Ofticers’ Association and the laredo Police Department. .

Chapter 143 ofthe Texas Local Govemmcnt Code provides that you may appeal this suspension in writing to the
Civil Service Commission or to an independent third percy hearing e)mminer. lt should be nowd that under Article 23,
Disciplinary Actions, of the collective bargaining agreement between the city of Lsredo and the Laredo Police Ohicers'
Association, suspensions of live (5) days or less cannot be appealed to a hearing examiner, but must be appealed only to the

Civil Servicc Commission.

[f you wish to appeal this order ofsuspenslon, you have ten (10) days after receipt ofthis order of suspension within
which to submits written notice of appeal under Chapter 143 oftlie Texas Local Govenunent Code, including Scction
143.010 of Chapter 143, which specifies those matters which most be contained in your notice ofappeal. Your notice of
appeal should he addressed to the Director of the Civil Service Commission of the city of Laredo, Texas.

@%<L/L

Agirstln Dovalina, IlI
Chicfof Police

Xc: Fiorencio Pens, lII
City Manager

Lan'y Dovalina
Assr. City Manager

Dan Migura, Director
Civil Servicc Commission _

lairne L. Flores
City Attomey

 

 

 

 

 

 

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Intemal Afi`airs
Perscunel _i"ile cfPolice~OHicer Hecto.il D. V_illarreal
SERVICE

 

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Date & Time:

 

   

 
   
   
 

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Witnessed`By: ,

 

 

 

 

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Civil Service Commission
City of Laredo

Personnel Department
1110 Houston Street
Laredo, Texas 78040

This is to advise you

1999.

Date: i\' \'°' qc]

. lntemal Affairs

 

Firetighters’ and Police Ofticers’

To the Honorable Commission:

original letter of suspension which contains the statement of reasons, informing him that he is
to ;be suspended indefinitely, a copy cf which is attached hereto, on the 9"' day of November

ACKNOWLEDGMENT OF RECEiPT BY COMM|SSION

Tin"te: cizo% A»M.

Name: C"'AM m;"_"‘§§\

Xc:\ Florencio Pena, lll, City Manager
jJaime Flores, City Attor_ney
Dan Migura, Director, Civil Service Commisslon

Personne| File of Ofncer_ Hector D. Wllan'eal '

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POLICE DEPARTMENT

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Chlel Agust`n Dovaiins. ill

N_ovember 9, 1999

that l caused to be delivered to Oftlcer Hector D. Wllarreal, the

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Agustin Dovalina, |ll,
Chief of Police

 

 

 

 

 

   

 

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¢hlatAguttin Dovahta. ltl
To: Ochr.t'HccrorDiego Wllarrmi
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(b)Anod'eoseunderthis Subdivision (1) or (Z)ofSubsodion(a)lsaClosB
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mdnmely los-13 A.M, you were snbtequentlynrrested in angle Pass, Texas. and charm with Tcrtoclstie'l‘hrcats. TPC
Soc 22.07. Closs B. Mlsduneanor. -

The Discl`pline Revlett'Bonrd (DRB) merlo review thomalter. A&ordeliberadon. the DRB concludedtlmtym did
a violatron f the aforementioned mlcs. policies md procedures Atter lrrt'cstigttlng your coodrrr:t as ost forth and
complained ofabcve. and alter reviewing lite recommendation made b3 the DRB. I have determined that yon;~condrrot ns
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goals ~l bavealsodetennlood thatyom' actions also constitutes violation oftlteo.ilecandregulcttions ofboth tlteFlro
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Civil Servloo Conttnlsslo`o.

Ifyotr wish to appeal this-order orlodanite suspension you have too (10) days alter receipt oftth order of
snspensiortwitlrin which lo submit tr milton notice olian under Chcptcr 143 of the 'I~`e:ms I.ocol Govmmeot Code. ‘
including Section 143.010 o£Chapter 143. which spedt`ree those mowers which must be contained i_n yonrwtittea notice of
appal. Your wrhtextvodce of appeal should hewide lo'tlie th`lor of`fhe l-"lte F`tghters' and Police CH-:t’.m' Civil
Smice commission of-tlro City ofLaredo. Cityllall. 1110 Houston_$ttcez, Loredo. Te.~tns 78040. stating your election to
appeal to either-thc Fr‘ro Flghtors’ anal'olr'oe Oli`rcers' Civll Scwioe Commission, or to an independqu prrty hearing
examiner Ifyooeleottottppcalthismdsrofstmcimmmwdspendcmtutdparq»heodngwmimrimwdo£wme
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City Mmrager

Dan Miguta. Dltecmr
Clvil Servlce Commission

 

 

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Pcrsoom:l Frle ol'Folr`oe Of|ioo.r Heelor Diego Villtureal

A.CIG\'OWLEDGEMENT

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PLEASE HESPOND TO
THE GFF|C!':' CHECKED

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210/822-3135 F.=.x
833/322'9529

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Hnusian, TX 77093
281/580-5252
281/880-9588 FAX
800/422-5325 WF\TS

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Mr:ar|ui|u. TX 75150
972/635'5220
972/556-3350 FAX

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409/721-5599

C| Arllnqcnn O|‘rl:o
1801 Wesi Park Flt:u.r
Ar||ngron, TX 76013
El'?/??Z-DS-‘l
311/275»2340 FAX

AFF|LIATED:

N.A.P.O.
CWA l._'r:o| S~Ji`l ‘-G:P'

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CLEAT'SAN ANTON|O TEL=E[USZGZN?

Cl§A’l` tom §Eovtcos lost

“Srrerrgth in Nrambers"

Novomber 18, 1999
Sent by Fncsimile
956-791-7416

Mr. Da.o Mt'gura, Diro-:tor
Fireflghtors* nod Police Officcrs
Civr'l Sorvioo Comrn.r`ssion

1100 I-Iouston Street

'Laredo, Tean 78040

.-‘\TTN: Cosar Garza

AMENDED NOTICE OF APPE_A~.L
In Re: Oi'r'icer Hoctor Biogo Villarroal; Loredo Police Department;
Indetinfte Suspenslan; Request for Arbitration

ear Mr. Migura 515 Mr. Gerzs:

Oo Novombor 9, 1999, Ofi'rcor Villarroal, was nod§ed that he was suspended
:"Tom paid duty with the Laredo Police Deporimsnt for an indefinite poriod, effective
iu'm're¢:iiatelyl

OfEcer Villarreol, by and through his Attorooy of Reoord, .Tohn J. Curlis.
requests A_rbt`t-:atioo on r.bc disciplina:y action taken against him. Pursuant to
Chapfc.r 143 of the I.oool Governmeut Code contained in Vomc)z‘.'s .-'tn.notatod
Revisod Civil Statutes and the provisions of the Collectivo Bargainiog Agrcomont
between the City ofLaredo and the Lareo`o Police O‘Eficers' Associs.tioo, we request

a hearing before o Thircl~Party A:bil:ator.

Offloor Villorrool denies violating the Rulcs of the Fit'=§ghters’ and Police
Officers‘ Civil Scrvico Commission, Rnle 2, Grounds for Romovol, Susponsioo or
Demotion; (6) {S) and (12) of thc Larcdo Police Dcpar'tmeui' Rulcs; Larr:do Police
Departmont Rulos and Regulat“ions Seotion Thrc:o - ludiviclual Rosponsibil'rtios, Sub-
section 10.'1 l~Abide by Laws, (A), (B), 10.14 -Rcsponsr'bility to S:rvr'co thc Public;
(C)- Cooduct and Bohavior; 10.45-'1`-0 Ropor‘l an Arrest, Criminol Chergo or
Indiotment; Loredo Police Depart'mcnt Genoral Ordcrs Mam.za], Secl:ion: 7.01-
Commu.nity Relalions; 7.02-Professi01‘cal Conducl.; 7.02.02~0£€-Duty. Additionally,
State of Tean Pcual Codo: Cbaptor 22-Assaultive Offonses; PC 22.02~Terroristic
Threats (a),(2),(b); Chapior 49-Into::.icatiorr and Othor A.lcoholic Bovorage Oit'enses~

49.4-Driving While Intoxicated (a).

Case 2:18-cv-OOO75-D Document 1 Fi|_ed 04/18/18 Page 34 of 63 Page|D 34

 

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THE OFFICE CHECKED

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400 W. 14th Si., Suite 200

' Auslin, TX 7870]
512/495-9111
512/495-9301 FAK
800/252-5153 WATS

Cl Nor!h Texas Olficc

904 Co||ier. Suite 100
Fo:1 Worlh, TX 76102
817/332-9548
817/882-9556 FAX
800/825-3281 WATS

dSouih Texas Ofl`lce
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San Amonlo. TX 75217
210/825-1899
210/826-2299 FAX
800/752-5328 WATS

[J Group L¢.\gnl Scrvicc_s
1939 N.E. Lo::p 410 L'33':`.*
San Antonio. TX 78217
210/322-7678
210/822-8185 FAX
800/822-9529

El East Texas Offl¢:e
15603 Kuykendahl Rd, #390
Houslon. TX 77090
281/880-5252
281/880-9988 FAX
800/422-5328 WATS

U Wcsl Teus Ofi'lcc
747 E. San Antonio. 3103
El Paso, TK 79901
915/533-4924
915£»33-511‘1 FAX

f`J Coaslnl Bend Omcc
3122 Leopard Sl.
Corpus Chcisti,TX 78408
512/883-3224
512/833-5759 FAX
538/2?2-5325

U Northem-lt Texas Ofi`ice
2427 Baher Dr.. Suite D
Mesqulte, TX 75150
972/635-5220
972/555'3350 F."\X

O Go|don Triangle Otflce
2300 Hwy. 365, #375
Neder|and. TX 77627
409/721'6599

Cl Arllng‘wn OiHce
1301 W&'.t Park Row
Nlingmn. TX 76013
517/792-3534
317/275-2340 FAX

AFF!LIATED:

N,A.P.O.

CWA L.oca| 6911 'QY'"

 

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“Strengtli in-Nr.tmbers”

Novernber 10, 1999
Sent by Certllied Mail RRR/P 246 953 2 9

 

 

 

Mr. Dan Migu_ra, Director
Fireiigl:iters‘ and Police O&icers
Civil Service Commission

1100 l~louston Street

Laredo, Texas 78040

 

In Re: Off“icer Hector Diego Villarrenl; Laredo Police Department;
Indeiinite Suspenslon; Reqnest for Arbitration

Dear Mr. Migura:

On November 9, 1999, Ol':-`icer Villatreal, was notified that he was suspended
from paid duty with the Laredo Police Depalnnent for an indefinite pei'iod, effective

immediately

Oft'icer Villar_real, by and through his Attoil ey oi` Reeord, John J. Curtis,
requests a hearing before the Fire.tlghters' and Police Ofiicers' Civil Service
Commission on the disciplinary action taken against him. O&`icer Villai'-:eal denies
violating the Rules of the Firefighters' and Police Ofiicers' Civil Service
Conimission, Rule 2, Grounds for Removal, Suspension or Dernotion; (6) (8) and
(12) of the Laredo Police Depaz'tment Rules; Laredo Police Department Rules and
Regulan`ons Section Three - lndividual Responsibilities, Sub-section 10.1 l-Abide by
Laws, (A), (B), 10.14 -Responsibility to Seivice the Public; (C)- Conduct and
Behavior; 10.45-'1`0 Report an Ai'rest, Criminal Charge or Indictment; Laredo Police
Department General Orders Manual, Section: 7.01-Cornmunity Relations; 7.02-
Professional Conduct; 7.02.02-Oft`-Duty. Additionally, State of Tean Penal Code:
Chapter 22-Assanltive Offenses; PC 22.02~Terr0ristic Threats (a),(2),(b); Chapter
49~Intoxication and Other Alcoholic Beverage Offenses- 49.4-Driving While

Intoxicated (a).

Oft`icer Villarreal, specifically and generally, singularly and plurally, denies
the truth of the charges and allegations against him. The charge is legally
insufficient to support the imposition ot` any penalty or punishment and legally
insufficient to support a conclusion that the Appellant was guilty as charged in the

charging instrument

 

 

Case 2:18-cv-_OOO75'-D Document 1 Ej|ed__O,4_L18/1§,_s_,_ELeQ,e..§§..,C)leQ&...-Ea.Q.elD~S.EW..,.M....T,,{,§,»_,

 

Mr. Dan Migum, Director . ' _`

Firel'ighters' and Police bf&cels ~ __\.
Civil Service.Commission ' - _ ' _ ' _.;'::.3-;l §

Appeal Letter- Page 2 _ ' ' ,i_,.-._

 

He requests a full, fair and impartial hearing and requests discovery of any exculpatory
evidence He requests reinstatement as well as lost pay and benefits.. Additionally, Oftioer
Villarreal asserts herein that the charges are not true, but assuming arguendo that such charges were
true, the punishth is clearly excessive considering all the mitigating circumstarwes.

.- x\..

Respectt`ully submitted

e`Tj dee

 

'State Bar No. 05286100

1939 N.E. Loop 41'0., Suite 210

San Antonio, Texas 78217

(21.0) 826-1899

Fax No (210) 826-2299

A'I`TORNBY FOR COMBINED

LAW ENFORCEMBNT ASSOCIATIONS
OF TEXAS, REPRESEN'I‘]NG

OFFICER HECTOR DIEGO VILLARREAL

ccc ' '
Otiicer Hector Diego Villan'eal
Luis Dovalina, President LPOA

 

Case 2:18-Cv-OOO75-D Document 1 Filed 04/18/13 Page 36 of 63 Pagel_D 36 w

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Ciyil Seruice Connnission

EO.BoxS?B
laredo, Te::u 78042-0579

 

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Novernber lS, 1999

HEARD€'G OF TH.` CIVI`L SERVICE COMI\'[ISSIGN

Written notice is hereby given of a hearing of the City of La.redo Fire Figliters' and Police
Oficers' Civil Service Commission. The hearing Will be held on "l`llursday, Deeernber 2,
1999, at 4:30 p.m., at the City Manager’s Conference Room, located at 1110 Houston

Street, Laredo, Texas.
The purpose of the hearing will be to consider the following items

l. To hear the appeal of Police Oz"fzcer Liuo Sanchez in regards to his ten (10) day
suspension dated Novern`oer 5, 1999.

2. 'l`o hear the appeal of Police Ofticer Hector D. Villarreal in regards to his indefinite
suspension dated November 9, 1999.
NOTE: The Civil Service Comniission reserves the right to go into closed meeting to

deliberate this under Personnel Merters - Tean Government Code Section 551 .074 and

Texas Local Government Code Section l43.0$3(d). After the closed meeting the Civil
Service Commission will i'econvene in open meeting and take whatever action it deems

appropriate

This notice was posted on the bulletin board at the City Hall of tire City ot`Laredo, Texas,
on the 18th day of November, 1999.

   

peace teresa
DANIEL E. Mro "s, JR, G

.DIREc'ron rr sncnnr_

 

Case 2:18-cv-OOO75-D Document 1 Filed 6_4/18/18 Page 37 of 63 Page|D 37

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Mr. Dan Ml,gum, Diccotnr

Fire_tightem' and Folioe Oh‘icers t
Cf\gil Scxvlcc Commission .__;.;._
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OHiccr ViIIarreel, specifically and generally, singularly end pldral!y, denies the truth of the
charges and allegations against.him. 'l_`he charge is legally insufficient to support the imposition of
any penalty or punishment a`nd legally insufficient to support s conclusion that the Appeilant was .
guilty as charged in the charging instrument

He requests a iiill, fair and impartial hearing `and requests discovery of say exculpatory
evidence He requests reinstatement as well ss lost pay and beneiits. Additionally. Officcr
Villarceal asserts herein that the charges are_ not true, but assuming arguendo that such charges were
true, the punishment is clearly excessive considering all'the mitigating circumstances.

Resp ectiitlly Submil¢ed»

J `CURTIS

S . Bar Na.` 05286100

1939 N.'E. Loup 410,' Suite 210

Sm A'nto_nio, Tean 78217

(210) 826-1899

Fax No (2109 326-2299

AI'I‘GRNBY FOR GOMBINED

LAW ENPDRCEMHNT ASSOCIATIONS
OF- TEXAS, REPR.BSENTING . _
OFFICER HBCTOR DLEGO VILLARREAL

cc:
DEer Heetor Diego Villan'eel
Luis Dovalina, President LPOA

 

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CaS€ 2218-CV-OOO75-D

Document 1 Filed 04/18/18 l Page 38 of 63 Page|D 38

l` birnch ceased `
POLICE DEPARTMENT

"Prasdly sewing und_:)ro.'ecn'ng tire citizens oj'Laredo "

  

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AREI§'?'.;YD" Asst. Chr'afG. Na` arm Dcpmj) Chief£`, Monc."vais
35

'I'o: Oiiicer Hector Diego Villarreal

From: Agustin Dovalina, UI
Chief or"Police

Date.' June 5, 2006

Re: Sirty (60) day Suspension

In Acccrdance with the rules and regulations of the Firc Fighter’s and Police Oi=`t'icer’s Civil
Service Commission ot` the City ofLaredo, Chapter 143 oi` the Tean Local Government Code,
and Section 26.1 of Arlicle 26 of the Current collective bargaining agreement between the City
oi`Laredo and the Lareclo Police Oi`r'icer’s .lll.ssociation7 and the authority provided therein to the
head cf the Police Depanment to effectuate discipline, you are hereby suspended without
benefits or pay r”or sixty (60) days effective Tuesclay, lone 6, 2006 at 8:00 hrs. and ending
'Friclay, August 4, 2006 at 17:00 hrs. The basis for this suspension is my conclusion that you
violated the following rules of the Fire Fi§hter’s and Police Or"r”icer`s Ciyil Service Commission

of the City ofLaredo, Texas;
R.ule 2:_ Grounds for Removal, Suspension or Dernotion
(6) act of employee showing lack ol`good moral characterl

(8) conduct prejudicial to good ordcr.
(12) violation cfa rule or special order of the Fire Depaztment or Police Dcpartment as

___aPPliCaf?ls____ __ _ __ . __ _ __

SECTION OF MANUAL VIOLATED:

Violation of Rules and Regulations of the Firefighters and Police Ol'i`tcers’ Civil Service
Commission of Thc City of Laredo, under Rule 2...

(l) Violation ofan applicable fire of police department rule or special order

 

4712MaherAve. - Laredo Texas 7804| - Tc|.:(9561795-2399 - Fax :(956179~¥-?§7§ - c~-mail'ndnvnlinar/hrilamaanm

 

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Violatioo of'Cieueral'Orders Manual Sectionii.,._ ~ _ - ~ ~
srANnARns orcorn)ccr _ __- ._ _ f:" ‘ ' .'___,____.;j~
7.2 srANnAnns~oF connucr- `

It is the purpose of t_his policy ..to provide'_speciiicity to the standards of conduct
embodied ofthisagency will better understand prohibitions and limitations
pertaining to their conduct and activities while on and off duty.

T-hc rules cf conduct `set forth in this policy -are not intended to serve as an
exhaustive treatment o£require_rhents,'_lirnitations, or.prohibitions on officer
conduct and.activities established by.. this`a`g_ency. Rather, they are intended to (1)
alert oi&'rcers~to some o'fthe more sensitive and often problematic matters
involved in police conduct and ethics; (-2):specify, where possible, actions and
inactions that are contrary to andthat_ conflict with the duties and responsibilities
of law enforcement officers and '(3) _gidde~dfiicers in conducting themselves and
their atI`airs in a manner that reflects standards of department and professionalism
as required of law enforcement officers -Additional guidance on matters of
conduct ~is provided in regard to specific_policies, procedures, and directives
disseminated by this agency and from'otiicers’ immediate supervisors and
commanders ' .

7.2.1 POLICY

Actiqns of officers that are inconsistent incompatible or in conflict with the
values established by this agency negativer a&`ect its reputation and that of its
oHi_cers. Such actions and inactions thereby detract from the agency’s overall
ability to e&`ectively and eHiciently piot'ect the public, maintain peace and order,
and conduct other essential business "I`here_t`cre, it is the policy of this law
enforcement agency that officers conduct themselves at all times in a manner that
reflects the ethical standards consistent with the rules contained in this policy and
otherwise disseminated by this agency _ l _

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..._._- .-. _ .,_¢_-,.,.._._._,5.`._._.... ._. .,.._. ' _¢»__.,.._... .._..l.. ._.. . - ;...‘

7.2.2 DEFINTI`IONS

Accountability: In the context of this policy, accountability means the duty of
officers to truthfully acknowledge and explain their actions and decisions when
requested to do so by an authorized member ofthis agency without deception or

subterliige.

 

 

Case 2:18-cv-OOO75-D Document 1 Fi|ec_i O4/18/18F:a_ge 40 _Qf _o`$ Pe\_ge_|_[_) A_,Q_.___~H_M

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7.2.3 PRoCEDUREs

1. _Obedienceto laws,_Regglauons and O`cders

a. Ofiicers shall not;violate any law or any agency policy, rule or
- procedure . _ ' ' . '
b. Ocher shall obey all lawldl orders

2. Conduct Unbecoming an Officer _'

a. Ofllcers shall not engage in any conduct or activities on or o&`-duty
that reflect discredit-on the ohicers, tend to bring this agency into
disrepute, or impair its eh°ec.tive operation

3. ' Accountability,Responsibil_ity, and`Disoipline

a. Ot'ticers are directly accountable for their action through the chain of
conunand, to this agenoy's chiefexecutive officer.

b. Officers shall cooperate litll_y in-any internal administrative
investigation conducted by this or other authorized agency an shall
provide complete and accurate information in regard to any issue

under investigation~.
c. Ochers shall be accurate complete, and truthh`ll in all matters.

d. 0fiicers shell accept responsibility for their actions without attempting
to conceal, divert,'or mitigate their true culpability nor shall they
engage in efforts to-.thwatt, influence, or interfere with an inteinal or
criminal investigation

Violation ol'Rules or Special Orders to the Laredo Police Department.

SECTION THREE?"DJDWTDUALRE`SPDNSIBEH§E'S"" "

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10.11 ABH)E BY LAWS AND DEPARTMENTAL ORDERS: Members of the

Deparvnent shall abide by: .

B. The General Orders, Rules and Re`gulations, and Proceclures of the Laredo
Police Department and Civil Service Commission Rules.

10.12 TRUTH_FULNESS: Members shall speak the truth at all times. Repolt and

written communications li‘om any members shall reflect the truth.

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Case l2:18-cV-OOO75-D Document 1 Filed 04_/18/18__, Page 41 of 63 Page|D 41

 

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10 l3 OBEY LAW-FUL ORDERS Members shall obey all lawliil orders and
directions given b`y supervisory oi’_dcer`s- and shall comply with instructions given

by the police dispatcher Such obedienceshall be prompt and willing.

A. R‘ISUBORDDIATION; Dei"ying the `a_uthoi-ity of any supervisory oEicer by
obvious disrespecta disputing his/her orders, or failure or deliberate rehlsal to

obey any lawiiil order by him/hei- shall be deemed insubordination

10.14 RESPONSIBILITY TO SER_VE_ T§§ PU’BLIC: Members shall serve the
public through direction counseling assistance and protection of life and
property Member shall also respect the rights of individuals and perform their
services with honesty, sincerity, courage, and sound judgment

C. CONDUCT AND BEHA'VIOR: Members, whether cti-duty or oft`-duty,
shall be governed by the ordinamyrules of good conduct and behavior, .and
shall not commit any act tending to bring reproach or discredit to themselves

or the Dep artment.

The acts constituting such violations are as follows:

On Friday Ianuary 27“`, 2006 at about 4:00 a_rn. ye_u, Ofiicer Hector Diego V'illaireal,
contacted Captain G.E. Martinez at his home and told him that you needed some advice. You
told Captain Martinez that you had had a get together at you’re apartment with some girls and
thatsorne suspicious subjects had shown up, which according to you, did not know.
Furthermore, you told_ Captain Martinez that these subjects had left some handguns in your
apartment and you needed advice as to what to do with them. Captain Martinez notified Lt.
Vil'larr_eal, the on duty watch commanded and told him to`seiid a supervisor to your apartment

On Friday Januar.y.Z”lth at approximately 4:40 a.m. Sgt Rene Alvarado along with Ofiicer
Abrarn Guaj ardo were sent to your apartment Upon arrival Ot`ficer Villan'eal told him that after
having several girls over at your apartment, several “unknown ”inale subjects arrived with beer

_ _ and lu_`ing o_i_it ath_is apartment Y_ou_ _al_sg _told_ Sgt._ Alvarado _tha_t_ a_bou_t _30 i_pi_i_iptes __la_ter you apd_
oiieofthe subjects engaged in a discussion over the carrying of`a concealed weapon You
timber stated that the subject pulled out a handgun stating he carried one and so did his friends
You were then told by the subjects that they were going to leave the guns and would pick them
up later. Sgt. Aivarado contacted Lt G. A. Ortiz and LL Oitiz instructed Sgt. Alvarado to tell you
that the guns were going to be picked up and placed' in the evidence room and that you could
retrieve them after you had talked to I»nternal affairs Ofiicer Guajardo filed a report (#06-2909)
and picked up the guns and placed them iii the evidence room tagged with #.06-3 84.

At about 7: 30 a. m. of the same date, you met with evidence technician loan A. Roinero and
told him that you had talked to the night Watch commander and that he had given you
permission to take out the weapons li'om the evidence room. Ofticer Romero, not questioning
you, hands over the weapons Shoitly thereafter Investigator Magana was to meet with you at
your apartment and to tell you to turn over the weapons that you had checked out ii'om the

 

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Case 211a:C_v_:QQQ:§;R__.nQ_o_m@nn_.red one/1a _ea@e..aa.om.sa. eagan 4a .»

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~¢~'.~:'.- . . :.:::':.'.‘: ..'..._- .. . :'~‘~.~:'.~¢::*."'.' -.~.... . .. .. . - -» -~ .. . .~ - 'f’»“- :'t:L<,‘.'

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property room. `l'he guns weis picked up by I_-nv. ‘_' ' ganaand turned back iii to the property '
room under tag # 05~3_85. Subs'ei{uently an intérnal_ai_i:ai_r_s:investigation was launched.

~ ..._..', ...

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Internal~AH"airs. investigation revealed dlafy_o!.ljl_i_e,rl_;to-§apt_ain G. B. Marfinez and Sgt. R
Alvarado about not knoudng_.`the`s`ubje'_cts that were=atfyout_§apaitment and who left the guns with
you. In fact investigation revealed that you latent ihei',ii"'.i`reiy~well to the point that you loaned
them your car. You further lied to evidence.teéhn_iciau'luairil{_ornero about getting permission
fi’om the night watch commander about checking out the guns nom the property room-.
Furthermore, investigation revealed that you l-`aile'd ;to follow the instructions that Sgt Alvarado
had given you about talking to Internal' Aff'airs-lirst`he'fore.i"etiieving the guns from the evidence
room. _ . ' -.

The internal investigation findings were subsequently submitted to the Laredo Police
D'epartinent Discipline Review Board (DRB) for a disposition recommendation

Afcer deliberation the DRB concluded that you did commit a violation of the
aforementioned rules, policies, and procedures At`rer investigating your conduct as set forth and
complained of above and, after reviewing the recommendation made by the DRB, I have
determined that your conduct, as described above, is contrary to the eEicieut and proper
functioning of the Laredo Police Department and its law enforcement goals. I have also
determined that your actions also constitute a violation of_the rules and regulations of the Frre
Fighter’s and Police Of&cer’s Civil Service Comrriission and the Laredo Police Department. As

such, it is my decision to assess you with sixty (60) days suspension

Chapter 143 of the Texas Local Government Code provides that you may appeal this
suspension in writing to the Civil Servioe Commission or to an independent third party hearing

examiner.
` If you wish to appeal this order of suspension, you have ten (10) days aftei' receipt of this
order of suspension within which to. submit a written notice of appeal under Chapter 143 of the

Tean Local Govemment Code, including Section 143.010 of Chapter 143, which specifies those
matters which must be contained in your notice of appeal Your notice of appeal should be

 

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Agustin Dovalina, l]'.[
Chief ofPolice

saavrca M l
Delivered by: Receivcd by:

DatefI'ime: 0 ("'/o$_/o(t’ /l -`50 AM Witnessed by:

 

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Xc: Lan'y Dovalina » pgx.i-M_i§ur§§_‘_'l§ix;ector
City Manager ‘ Admilji§;f?;fi’\?a Services
Cesar Gaxza, Dir_ector i'|`,s';'ln.n»._1`?1_<'_)1'¢'§l _
Civil Service Commission City Atto'rc;e`y;
OfEce ofPublic Integrity OEicer HectorD. Villarreal, Personnel File

   
 

 

 

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Case_Z:lS-cv-OOO?B_-D Documenfcl Filed 04/18/18 Page 44 of 63 Page|D 44

 

To: Leticia Garcia
Oflicer Lid£a Balderas v “l’_/ h¢-‘~d»_“_._,

From:
Date: Nnvember 9, 2007

Re: Off. Hec,“=or Diego Wlarrea|

This is 10 inform you that Off. He:tor Diego Vi|larreal has been suspended without pay or
benetiis for a term of two (2) calendar days effeciive Fn`-:Iay, November 9, 2007 at 02:00 P.M.

and ending on Saturday, November10. 2007, at 4:OD P.M.

CaSe 2:18-cv-OOO75-D Document 1 Filed 04/18/18 Page_ 45 of 63 PagelD 45

crrr' 01=' LARED@
POLICE DEPARTMENT

"Praudly serving and protecting the citizens ofLaredo

ll

 

‘ Chr'ef Agustr’n Dovalina,LlI
A.s'si‘. Chz'efF. San Miguel, IH Depun.l Chiqf!. Perez.
Asst. Chr'efG. Navarro Deput_‘y Chreff,_`. Moncrvars

 

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To: Ofiicer Hector Diego Villarreal

From: Gilbert L. Navarro
Acting Chief of Police

Date: November 8, 2007

Re: Two (2) Day Suspension Without Pay or Benefits
ce with the rules and regulations of the Fire Fighters' and Police

thoers’ Civil Servioe Commission of the City of Laredo, .Chapter 143 of the Texas
Code, and Section 26.1 of Artic|e 26 of the

Local Govemrnent Code, Texas Penal
current Collective Bargaining Agreement, and the authority provided therein to the head -
are hereby suspended without pay

of the Police Department to effectuate discipline, you
or benelits for two (2) calendar days effective Friday, November 9, 2007 at 2:00 p'frn.
and ending on Saturday, November 10, 2007 at 4:00 p.m. The basis for this

suspension is my conclusion that you violated the following:

ln accordan

VlOLATlONS:

tions of the Firefighters’ and Police OfEcers’ Civii

Violation of Ruies and Regula
rounds lor Removal,

Service Commission of the City of Laredo, Rule 2; G
Suspension or Demotion, specilical|y,

(8) Conduct prejudicial to good order; and

(12) \fiolation of an appHcable fire` or police departmental rule or special
.Order;

violation of Rules or Spec_ial Orders of the Laredo Police Department;

SECT!ON THREE: iNDlVlDUAL RESPONS{BIL|TIES

10.11 ABlDE BY LAWS AND DEPARTMENTAL ORDERS: Mernbers of the
Departrnent shall abide by:

Larcdo Texas 78041 ' TeL:(956) 795-2899 ' Fax:(956) 795-2875 * e-mail:adova.lina@;ci.la:cdo.uc.us

4712 Maher Ave.. ~
` WebAddress:\mw/.ci.laredo.tx.us

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7.02.001

7.02.002

7.02.003

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POLiCY

Actions of officers that are inconsistent or in conflict with the values
estabiished by this agency negatively affect its reputation and that of its
ofticers. Such actions and inactions thereby detract from the agency’s
overall ability to effectively and efnciently protect the public, maintain
peace and order, and conduct other essential business. Therefore, it is
the policy of this law enforcement agency that officers conduct themselves
at all times in a manner that reflects the ethical standards consistent with
the rules contained in this policy and otherwise disseminated by this

agency.

DEFINIT!ONS

Accountabi|ity: ln the context of this policy, accountability means the duty
of all officers to truthfully acknowledge and explain their actions and
decisions when requested to do so by an authorized member of this

agency without deception or subterfuge

PRochuREs'

A. Genera| Conduct

1. Obedience to Laws, Regulations and Orders
a. Offlcers shall not violate any law or any agency policy, rule cr

procedure

2. Conduct Unbecoming an Offrcer
a. Officers shall not engage in any conduct or activities on or off-

duty that reflect discredit on the officers, tend to bring this
agency into disrepute, or impair its efficient and effective

operation.

3. Accountabi|ity, Responsibiiity, and Discipline
e. Officers who are arrested, cited or come under
investigation for any criminal offense in this or another
jurisdiction shall report this fact to a supervisor as soon

as possible.

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The Laws of the United States and the State of Texas. and ordinances of
the City of Laredo.

A.

B. The General Orders, Rules and Regulations, and Procedures of the
Laredo Police Department and Civil Service Commission Rules.

10.14 RESPONSIB!L|`|Y TO SERVE THE PUBLiC:

Members shall serve the public through direction, counseling assistancel and
protection cf life and property. Members shall also respect the rights of
individuals and perform their services with honesty, sincerity, courage and sound

judgment
C. CONDUCT AND BEHAV|OR:

Members, whether on duty or off-duty, shall be governed by the ordinary rules
of good conduct and behavior, and shall not commit any act tending to bring

reproach or discredit to themselves or the department

Violation of General Orders Manual Section:

7.02 STANDARDS OF CONDUCT

lt is the'purpose of this policy to provide additional specificity to the
standards of conduct embodied in the law enforcement officer's code of
ethics and this agency's statement of values so that officers of this agency
will better understand prohibitions and limitations pertaining to their

conduct and activities while on and off-duty.

The rules of conduct set forth in this policy are not intended to serve as an
exhaustive treatment of requirements, limitations, or prohibitions on ofhcer
conduct and activities established by this agency. Rather, they are
intended to (1) alert oflicers to some of the more sensitive and often
problematic matters involved in police conduct and ethics; (2) specify,
where possible, actions and inactions that are contrary to and that conflict
with the duties and responsibilities of law enforcement officers, and (3)
guide officers in conducting themselves and their affairs in a manner that
reflects standards of department and professionalism as required of law

enforcement officers.

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Violations of the State of Texas Penal Code, Chapter 22, Section...

22.01. ASSAULT

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(a) A person commits an offense if the person:
(1) intentionally, knowingly, or recklessly causes bodily injury to another,

including the person’s spouse; or
(2) intentionally or knowingly threatens another with imminent bodily injury,

including the person's spouse; or
(3) intentionally or knowingly causes physical contact with another when the
person knows or should reasonably believe that the other will regard the contact
as offensive or provocative.

(b) An offense under Subsection (a) (1) is a Class A misdemeanorl except that
the offense is a felony of the third degree ifthe offense is committed against:

(1) a person the actor knows is a public servant while the public servant is
lawfully discharging an ofnciai duty. or in retaliation or on account of an exercise
of power or performance of an official duty as a public servant-;_

(2) a person whose relationship to cr associated with the defendant is described
by Section 71 .0021 (b), 71 .003, or 71 .005, Family Code, if it is shown on the trial
of the offense that the defendant has been previously convicted of an offense ~
under this chapter Chapter 19 or Section 20 03, 20.04, or 2111 against a
person whose relationship to or association with the defendant rs described by -
Section 71. 0021 (b), 71 .,003 or 71 005 Family Code;

. (3) a person who contract with government to perform a~-sewiceina facility as
defined by Section 1.07 (a)(14), Penal Code, or Section 51.02 (13) or (14),
Family Code, or an employee of that person:

(A) while the person or employee is engaged in performing a service within the
scope of the contract, if the actor knows the person or employee is authorized by

government to provide the service; or
(B) in retaliation for or on account of the person’s or employee’s performance of a

service within the scope of the contract; or
(4) a person the actor know rs a security officer while the officer is performing a

duty as a security off cer
(c) An offense under Subsection (a) (2) lor (3) is a Class C

(1) a misdemeanor, except that the offense rs:
Class A misdemeanor if the offense rs committed under Subsection (a)(3) against

an elder individual or disabled individual, as those terms are defined by Section
22. 04; or

(2) a Class B misdemeanor ifthe offense is committed by a person who is not a
sports participant against a person the actor knows is a sports participant either:
(A) while the participant is performing duties or responsibilities in the participants
capacity as a sports participant; or

(B) in relation for or an account of the participant's performance of a duty or
responsibility within the participant's capacity as a sports participant

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The acts constituting such violations are as follows:

On July 12"‘ 2007 Raquel Ramirez filed a complaint against you, Officer Diego
Villarreal. Ms. Ramirez claims that she was with some friends at Cosmos Bar & Grill
and that you approached their table and started making unnecessary comments about
her ring and Rolex watch. An argument ensued and two of Ms. Ramirez‘s friends
proceeded to pour their drinks on you. You then stood back, shook your beer bottle and
began to spray them with your beer. There were witnesses to the assault which
corroborate the complainants accusation At approximately 1148 a.m., Ms. Ramirez filed
a complaint with police and subsequently you were~issued a citation for Assau|t

Class C.

Having received the OPl l lA files on the matter, the Disciplinary Review‘Board
(DRB) met to review the investigation findings on the matter. Aiter deliberation, the
DRB concluded that you violated the above mentioned Rules and Regulations of the
Firefighters and Police Officers' Civil Service Commission, the Rules and Special
Orders of the Police Department and General Orders Manua|. The DRB further
recommended that you be assessed a two (2) day suspension without pay or benefits.

After investigating your conduct as set forth and complained above and after
reviewing the recommendation made by the DRB, l have determined that your conduct
as described above is contrary to the efficient and proper functioning of the Laredo
Police Department and its law enforcement goals and constitutes a violation of the rules
and regulations of both the Fire Fighter and Police Officers’ Civil Service Commission
and the Laredo Police Department l have based my decision to assess you a two (2)
day suspension without pay or benefits, upon not only the acts as set forth above, but

also upon the recommendation of the DRB.

Chapter 143 of the Texas Local Govemment Code provides that you may
appeal in writinth the Civil Service Commission or to an independent third party
hearing examiner. However, under Artic|e 26, Disciplinary Actions, of the Collective
Bargaining Agreement between the City of Laredo and the Laredo Police Officers'
Association, suspension of five (5) days or less cannot be appealed to a hearing
examiner, but must be appealed only to the Civil Service Commission,

lf you wish to appeal this order of suspension, you have ten (10) days after
receipt of this order of suspension within which to submit a written notice of appeal
` under Chapter 143 of the Texas Local Government Code, including Section 143.010 of
‘ Chapter 143, which specifies those matters which must be contained in your notice of

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appeal. You notice of appeal should be addressed to the Director of the Fire Fighter-s
and Police Officers' Civil Service Commission of the City of Laredo, Texas

fibert L. _Navarro
Acting Chief of Police

' sER\/rca' _
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DatelTime: £%3/0 7 //54'/9/¢7 Wrtnessed by: M

 
 

XC: Carlos Vil|arrea|, City Manager
'Cesar Garza, Director, Civil Service Commission
Raul Casso, City Attorney
Officer of Public integrity _
Personnel Fi|e of thcer Hector Diego Vil|arreal

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To: l_eticia Garcia
W/”
Frocm lnv. S. l`v‘loreno
Date: October 03, 2008
Re: lndeiinite Suspension for Off. Hector Diego Villarreal

 

This is to inform you that fo. Hector Diego Vil|arreal has been suspended indennilely without
pay or benefits effective Thursday, October 02, 2003, at 4:25 Pl'./l.

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CITY OF LAREDO
POLICE DEPARTMENT

"Prcue'r'y serving o):;{pro:ec:r'.vrg the citizens oj'.l.ara:r'o "

Ch."ef C:'arlo$ ft rl/fa!c'cnodo

A.rsr. Chr`efF. San Mr'gus!, [H Depun) Chr`eff. Perez
first Chz`efG-. lear)'o Depu!y Chr`efE. Moncivc.".r

   

To: Officer Hector Diego Villarreal

From: Carlos R. t\lalo'onado
ChiefofPolice

Date: Octo`oer 02, 2008

RE: Irzde;'irzr're .S'rrspension

ln Accorclance wr`rh.=the rules and regulations of the Fire Fighters’ and Police Officers’
Civil Service Commissjon of the City of Laredo, Chapter 143 of the Texas Local
ection 26.1 of Arn`cle 26 of the Current collective bargaining

Governrnent Code, and
ficers’ Association, and

agreement between the City of Laredo and the Laredo Police
the authority provided therein to the head of r`ne Police Department to effectuate
discipline, lyou are hereby suspended indefinitely-2 The basis for this suspension is my
conclusion that you violated the following rules of the Fire Fighters‘ and Police Or"r"rcers’
Civil Service Commission of the City of Laredo, Texas:

Rule 2: Grounds for Ren'\.oval, Suspension or Dernotion
(S) Conduct prejudicial to good order;

(12) Violation of an applicable fire or police department rule or special
order

A '.’iolation of r_he following sections of the Rules or Spec:`al Orders of the Larch Police
Department
Section 'l`hree: INDIVIDUAL RESPONSIBILITIES
10.1 l Abide by Laws and Department Orders: Members of the
Department shall abide by:
A. The Laws of the United States and the State of Texas, and
ordinances of die City of-Lareclo.
B. The General Orders, Rules and Regulations, and Procedures of
the Laredo Police Department and Civil Service Commission

47l2Ma.`ner'Ave. ' Leredo Texas 7804! - Tel.:(956) 795-2899 » Fax:(956)795-2875 * e-mail:crnaldonado@ci.laredo.bc.us

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Rules.

10.14 Responsibility to Serve the Public: Members shall serve the public
through direction, counseling, assistancc, a.nd protection of life and
property. Members shall also respect the rights of individuals and
perform their services with honesty, sincerity, courage, and sound
judgment
C. Conduct and Behavior: Members, whether on-duty or off-duty,

shall be governed by the ordinary rules of good conduct and
behavior, and shall not commit any act tending to bring reproach
or discredit to themselves or the Department

IO. 21 Use of Into)dcants:
A. Drinldng: Public intoxication on-duty or off- duty,` rs prohibited

Driving a motor vehicle while under the influence of alcohol or
controlled drugs, on or off-duty is prohibited Reporti.ng for
duty after consuming alcoholic beverages or with the odor of
alcoholic beverage on ones breath is prohibited Consumption
or possession of any controlled substance except in accordance
with a physician’s orders is prohibited, on or oft`-duty. A
member reasonably suspected of violation of this rule may not
refuse to submit to a blood, breath, or urine test upon order of a

superior officer or supervisor.

10.33 Restn'ctions on Activities while Sick, lnjured, or on Limited Duty:
A. Members, while on sick or injury leavc, shall remain at their
place of residence unless it is necessary for them to go to the
doctor, hospital, or pharrnacy. If for medical reasons it should be
necessary for a sick or injured member to stay at some location
other than his/her residence, he/she notify his supervisor who
shall insure that the new temporary address is made a matter~of

record

Additionally, your actions constituted a violation of the Gencral Orders Manual of the
Police Department

7.02

Profcssional Conduct

It is the purpose of this policy to provide additional specificity to
the standards of conduct embodied in the law enforcement
officer’s code of ethics and this agency’s statement of values so
that officers of this agency will better understand prohibitions and '
limitations pertaining to their conduct and activich while on and
off duty.

The rules of conduct set forth in this policy are not intended to
serve as an exhaustive treatment of requirements, limitations or
prohibitions on officer conduct and activities established by this

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agency. Rather, they are intended to (1) alert officers to some of
the more sensitive and often problematic matters involved in police
conduct and ethics; (2) specify, where possible, actions and
inactions that are contrary to and that conflict with the duties and
responsibilities of law enforcement officers, and (3) guide officers
in conducting themselves and their affairs in a manner that reflects
standards of deportment and professionalism as required of law
enforcement officers Additional guidance on matters of conduct
is provided in regard to speciic policies, procedures, and
directives . disseminated by this agency and from ofticers’
immediate supervisors and commanders.

Policy
Actions of officers that are inconsistent, incompatible or in conflict

with the values established by this agency negativer affect its
reputation and that of its officers Such actions and inactions
thereby detract from the agency's overall ability to effectively and '
efficiently protect the public, maintain peace and order, and
conduct other essential business 'I`herefore, it is the policy of this
law enforcement agency that ofhcers conduct themselves at all
times in a manner that reflects the ethical standards consistent with
the rules contained in this policy and otherwise disseminated by

this agency.

Deli.nitions
Accountability: ln the context of this policy, accountability means
the duty of all ochers to truthfully acknowledge and explain their
actions and decisions when requested to do so by an authorized

member of this agency without deception or subterfuge

Procedures
l. Obedience to Laws, Regulations and Orders
a. Officers shall not violate any law or any agency policy, rule
or procedure
b. OEcers shall obey all lawful orders.
2. Conduct Unbecoming an OEcer
a. Officers shall not engage in any conduct or activities on or
off-duty that reflect discredit on the officers, tend to bring
this agency into disrepute, or impair its efficient and
effective operation

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Your act(s) as set forth herein constitute various violations of the State of Texas Penal
Code including Driving While lntoxicated that constitutes a Class B Misderneanor, with a
two-year statute of limitations so as to bring your act(s) within the coverage of Section 2
of Article 26, Disciplinary Action, of the Collective Bargaining Agreement between the
City of Laredo, Texas and the Laredo Police Officers’ Association. In addition to DWI,
your acts also constitute violations of three other penal statutes regarding unlawful
carrying of a handgun by license holder, public intoxication and possession of an
alcoholic beverage in a motor vehicle, specifically listed below.

Title l0.0ffenses Against Public Health, Saf`ety, and Morals

Chapter 46. Weapons
§ 46.035. Unlawful Carrying of Handgun byLicense Holder. (d) A license
holder commits an offense if`, while intoxicated, the license holder carries a
handgun under the authority of Subchapter H, Chapter 411, Govemment

Code, regardless of whether the handgun is concealed

Chapter 49. lntoxication and Alcoholic Beverage Offenses
§ 49.02. Public Intoxication (a) A person commits an offense if the_ person

appears in a public place while intoxicated to the degree that the person may

endanger the person or another.
(c) Except as provided by Subsection (e), and offense under this section is a

Class C misdemeanor. '

§'49.031. Possession of Alcoholic Beverage in Motor Vehicle. (b) A person
commits an offense if the person knowingly possesses an` open container in a
passenger area of a motor vehicle that is located on a public highway,
regardless of whether the vehicle is being operated or is stopped or parked
Possession by a person of one or more open containers in a single criminal

episode is a single citation
(d) An offense under this section is a Class C misdemeanor.

§ 49.04. Driving While Intoxicated. (a) A person commits an offense if the _
person is intoxicated while operating a motor vehicle in a public place.

(b) Except as provided by Subsection (c) and § 49.09, an offense under this
section is a Class B misdemeanor, with a minimum term of confinement of
72 hours.

o) If it is shown on the trial of an offense under this section that at the time of
the offense the person operating the motor vehicle had an open container of
alcohol in the person's immediate possession, the offense is a Class B
misdemeanor, with a minimum term of confinement of six days.

The acts constituting such violations are as follows:

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On Sunday, April 20, 2008, at approximately 12:26 AM, you were off-duty and operating
your personal vehicle, a silver Chrysler 300 displaying Texas license plates 773-BCG,
and traveling southbound on IH-35 (99 mile marker) through Pearsall, F rio County,
Texas. In Pearsall, Texas you were stopped for speeding by Texas Department of Public
Safety Trooper Daniel E. Torres. Trooper Torres’ observations of your driving, your
physical condition, and results of your standardized field sobriety test brought him to the
conclusion that you were driving while intoxicated, an arrestable offense under Texas
Penal Law. 'Ijrooper Torres then placed you under arrest for Driving While Intoxicated
Texas Penal Code Section 49.04, a Class B Misdemeanor. Trooper Torres subsequently
offered you the opportunity to undergo a Breathalyzer examination which you refused to
submit to. You were charged with Driving While Intoxicated and were remanded to the
custody of the Frio County Jail.

Noted in Trooper Torres’_ report of your arrest are the following:

Your admission that you had been drinking and shouldn't be driving

> Your poor performance of the Standardized Field Sobriety Test.

> An open alcoholic beverage container found on the floorboard of your vehicle.

> A loaded PTl ll, 9mm Para pistol found in the middle console of your vehicle,

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Your exit from the Trooper’s vehicle after having been handcuffed and secured

(seat-belted) there by Trooper Torres.
The existence of evidence in the form of video (DVD) of the trach stop and your

arrest.

As noted above, you had an open alcoholic container on the floorboard of your vehicle as
observed by Trooper Torres and noted in his report, which is a Class C misdemeanor.
More to the point, on June 23, 2008, the F rio County Attomey reduced the DWI, class B
misdemeanor, to Possession of an alcoholic beverage in a motor vehicle (Open container
Cha.rge) Penal Code Section 49.031, class C misdemeanor in exchange for your guilty
plea to an open container charge. On lune 23rd you plead guilty and paid a fine and court

costs of $796.00.

You also told Trooper Torres that you had been drinking and should not have been
driving and you were in a vehicle in a public place which is Public Intoxication, a class C

misdemeanor under the Texas Penal Code Section 49.02.

Additionally, Trooper Torres found your loaded PT 111, 9mm Para pistol in the middle
console of your vehicle which is the Unlawful Carrying of Handgtm by License Holder,
an arrestable offense under the Penal Code, Section 46.03 5 .

The fact that you, as a sworn police of`I`icer, drove a motor vehicle on a public roadway,
although oH-duty, speeding, intoxicated, in possession of an open alcoholic container, in
possession of a handgun, admitting you had been drinking and should not be driving,
resulting in your arrest by Texas Department of Public Sat`ety for Driving While
Intoxicated is a clear violation of the Texas Penal Code, Rules and Regulations of the
Fire Fighters’ and Police Officers’ Civil Service Commission of the City of Laredo,
Texas, as well as of the Laredo Police Department Consequently, a formal internal
complaint was filed against you and an immediate internal investigation was initiated.

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The internal investigation established you were arrested and charged with Driving W.hile
Intoxicated Class B Misdemeanor.

The internal investigation findings were subsequently submitted to a Laredo Police
Department Discipline Review Board (DRB) for a disposition recommendation

After deliberation, the DRB concluded that you did commit a violation of the
aforementioned rules, policies, and procedures and further recommended you be
indefinitely suspended After investigating your conduct as set forth and complained of
above and, after reviewing the recommendation made by the DRB, l have determined
that your conduct, as described above, is contrary to the efhcient and proper functioning
of the Laredo Police Department and its law enforcement goals. I have also determined
that your actions also constitute a violation of the Rules and Regulations of the Fire
Fighters’ and Police Officers’ Civil Service Commission and the Laredo Police
Department, all as set forth above. As such, it is my decision to impose on you an

indefinite suspension

My decision to indefinitely suspend you was further bolstered by your previous conduct
while you have been an officer in the Laredo Police Departrnent, as reflected in the files
of the Laredo Police Department, as follows:

l. In December 1998, a complaint was filed for failing to report an arrest in
Eagle Pass, TX for an outstanding Murricipal Court warrant for Expired MVI
and Failure to Appear. Upon investigation it was SUSTAINED and you
received a written reprimand

2. In February 1999, a complaint was filed for GH-Duty Enforcement and
Unnecessary Display of Weapon. Upon investigation it was SUSTAINED
and you received a three (3) day suspension

3. In September 1999, a complaint was iled for Intoxication Off-Duty after you
were arrested in Eagle Pass, 'I'X for Driving While Intoxicated. Upon
investigation it was _S_____________USTAII\IED and you a thirty (3 0) day suspension

4. In September 1999, a complaint was filed for Oft`- Duty Conduct aher you
were once again arrested m Eagle Pass, TX for Terroristic Threats. Upon
investigation it was SUSTAINED and you received an indefinite suspension

5. In May 2001, you were cited in Laredo for Speeding You received an
Employee Warning Notice.

6. ln January 2002, a complaint was iled for Telephone Harassment you
repeatedly telephoned a female motorist whom you had stopped Upon
investigation it was SUS'I`AINED and you received a written reprimand

7. In October 2003, you were involved in a fleet accident Upon investigation it
was PREVENTABLE and you received were scheduled for Defensive
Driving`Course. -

8. In May 2005, a complaint was filed for Off-Duty Conduct after you made an
inappropriate gesture with your middle finger to a USBP Agent. Upon
investigation it was SUSTAINED and you received a written reprimand

9. In lanuary 2006, a complaint was filed for Untruthfulness and Insubordination
after you called the Laredo Police Department while off-duty to recover some
firearms from your residence and later came by the Police Department to

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recover them by resorting to mendacious means Upon investigation it was
SUSTAINED and you received a sixty (60) day suspension

10. In November 2006, a complaint was filed for Incompetency after you
handcuffed detained, and transported a nine (9) year old juvenile. Upon
investigation it was SUSTAINED and you received an oral reprimand

ll. In November 2006, a complaint was filed for Inattention after you left the
booking room door unsecured and a prisoner later escaped Upon
investigation it was SUSTAH\TED.

12. In March 2007, you were involved in a fleet accident Upon investigation it
was PREVENTABLB and you received were scheduled for Defensive
Driving Course.

13. Lastly, of the many entries in your internal affairs file, a total of` eleven (ll)
incidents involved the consumption of alcohol and/or at establishments where

alcohol is consumed

l would have reached the same conclusion to indefinitely suspend you even in spite of
any of these prior entries in your internal affairs file

Chapter 143 of the Texas Local Government Code provides that you may appeal this
suspension in Writing to the Civil Service Commission or to an independent third party
hearing examiner. It should be noted that under Article 26, Disciplinary Actions, of the
Collective Bargaining agreement between the City of Laredo and the Laredo Police '
Officers’ Association, suspensions of five (5) days or less cannot be appealed to a hearing
examiner, but must be appealed only to the Civil Service Commission.

lf you wish to appeal this order of suspension you have ten (10) days after receipt of this
order of suspension, within which to submit a written notice of appeal under Chapter 143
of the Texas Local Government Code, including Section 143.010 of Chapter 143, which
specifies those matters which must be contained in your notice of appeal. Your notice of
appeal should be addressed to the Director of the Civil Service Commission of the City of

Laredo, Texas.

/KWZM

Carlos R, Maldonado
Chief of Police

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xc: Carlos Vil|arreal, City Manager
Cesar Garza. Director Civil Service Commission
Raul Casso, City Attomcy
Oftice ofPubllc Intcgrity '
Personnel File of Police Officer Hector Diego Vil|arreal

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AEELDAYII`_QM§

STATE OF TEXAS §
§
COUNTY OF POTTER §

Before me the undersigned notary, on this day personally appeared Gary Owens, the

aii:`iant, a person whose identity is known to me. After I administered an oath, the affiant
testified as follows:

“My name is Gary Owens. I am over 18 years of age, of sound mind, and competent to
make this Aflidavit. I have personal knowledge of the matters contained herein, and they are all
true and correct

On or about April 27, 2012, I had a personal encounter with Sergeant Hector Villareal of
the Perryton Police Department I had been at the Boxwell Brothers funeral home in Perryton,
Texas with my family that evening as my father-in-law, R.L. McElroy, had passed away earlier
that morning Atter I left the funeral home I later returned to my father-in-law’s home at #1
North Jet?i`erson Street, Perryton, Texas at approximately 9:30 p.m. I was driving a Chevrolet
lmpala and pulled into the driveway of the residence. l saw a police cruiser when I pulled into
the driveway and waved as l drove by the police oHicer. I proceeded to exit my vehicle to go
into the house with my wife, and suddenly, I saw the police cruiser pull into the driveway at an
angle and turn on his lights.

I approached the the police officer and asked if there was a problem. The police officer
identified himself as Sergeant Villarreal with the Perryton Police Department He advised me
that I did not use a blinker when I pulled into the driveway and that l needed to provide him with
my license and registration l provided him with that information and I apologized for not using
my blinker when I drove into the driveway. Sergeant Villarreal was irritated about the situation
and made that clear to me with his words and actions. He also advised that he had been watching
a situation with a vehicle that looked like mine all day loug. I informed Sergeant Villarreal that l
did not live in Perryton and that I was only there for the day. I then asked to speak to his
sergeant and he advised “I arn the Sergeant.” l then asked to speak with his supervisor and he
responded “I am the supervisor.” Then he instructed me that I needed to get in my vehicle. I
informed him that I was at the location that I intended to stay for the night and that l did not need
to get in my vehicle. He then instructed me to get in the vehicle. I turned away from Sergeant
Villarreal to head back towards my vehicle which was about 10 feet away.

As l was walking towards my vehicle, I heard Sergeant Vrllarreal approaching me from
behind and suddenly, he jumped on my back to try and take me to the ground He went over the
top of me and when he got up off the ground, he had drawn his gun and pointed it in my face and
yelled “You are under arrest.” At that point, I stopped speaking with him and turned around He
handcuffed me and put me in the back of the vehicle.

About that time, several officers arrived at the scene and Sergeant Villarreal went to the
EXHIBIT

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door of the house to see if my wife was inside. Afier speaking with her, he got in the car and
took me to jail.

While waiting in a holding cell, I overhead Sergeant Villarreal tell the other police
officers that he had followed me, I pulled into the driveway, exited the vehicle and tried to flee
the scene which is why he arrested me. Later that evening, l was released from jail. No charges
were ever filed.

Following the incident, I filed a complaint with the Texas Rangers to report the incident,
To my knowledge, nothing ever came of the complaint.

  
  
 
 

I have read the preceding Afiidavit, and l
personal knowledge, and is true and correct.”

every statement made is upon my

SIGNED this the 26th day of October, 20

Gary 0wer7

SUBSCRIBED AND SWORN TO BEFORE ME on thMy of October 2017, to
certify which witness my hand and official seal.

gen REsEccA ANN McMuaaY @/b@¢'/d m MO//

 

 

 

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\- newmme 16.2020 Notary Pubhc, State ofTexas

 

Af`fidavit of Gary Owcns Page 2 of 2

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AFFIDAle OF JOSEPH BRENT JUDICE

THE STA'I'E OF TEXAS

COUNTY 0F OCl\¢`/fr€€

On this day personally appeared before me Joseph Brent Judice who, alter being by me duly
swom, on his oath stated the following:

“My name is Joseph Brent Judice. I am over the age of 18 years, am fully competent and
have personal knowledge of the matters stated in this allidavit.

“Prior to the shooting of Scott Pickett on May 2, 2016, l had a personal encounter with
Ofl'rcer Hector Diego Villarreal of the Perryton Police Department

“I had a swim party in my backyard. One ofour guests, Torry Richar'dson, stepped into the
front yard to take a phone call from his rnothcr~in-law. When the party was over, no one knew
where Tony was. His car was still parked out fi'ont, so I assumed he caught a ride home, I went to
slecp, and early in the morning I received a call from Tony. I~Ie was injail and he asked me to call
his boss and inform him that he would not be ranking it to work. He told me he had been assaulted
in my front yard by Otiicer Hector Diego Vll]arreal of the Perryth Police Department

“I got angry and called and spoke with Officer Villaneal by telephone Officer Villan'eal
oflhred to come to my house to speak to me in person Officer Villarreal pulled past my house and
approached me in my front yard. I could tell by his demeanor that He was very angry. We
exchanged rmpleasantries in my front yard and I finally asked him to leave. When he would not
leave, I told him I was going to bed. As l turned to walk away, l was tasered and arrested OIIicer

William “Bucky" Goldsberry witnessed the scene and neither de-escalated or escalated the

situation

AI-'FlDAVlT OF JOSEPl-l BRBN'|` JUDlCB
Pagc l ol`z

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“I had three (3) charges brought against me arising out of the incident at my home, Chief
Hil| agreed to dismiss two (2) of the charges on the spot and I paid a fine for public intoxicatiou,
even though I was exercising my First Amendment right while standing orr my own property.

“For‘ quite some lime after the incident, Officer Vil|arreal slowly drove by my house
smirldng at me.

Furlher, affiant saith not.”

 

 

E}GECUTED on this the l<)~ day of PrrOr/-l , ,2018.
May ,/!»e/%j
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Page 2 ol`2

EXH|B|T

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